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               EXHIBIT 2
Case: 1:21-cv-01248-PAB Doc #: 1-3 Filed: 06/25/21 2 of 4. PageID #: 26




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    Case: 1:21-cv-01248-PAB Doc #: 1-3 Filed: 06/25/21 4 of 4. PageID #: 28




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                                                         ADDITIONAL NOTICES

If you h;1ve any t,d-1er mortgago l0,1ns 1ecured by the same prope~y not servic:ed by Rushmore, please contact your oth"r :;ervicer
directly to d~cllS:! any pos:iible loS& mitigat ion ~ that m:iy ~ c1Vailable to you.

If you are 'I conr1rmed Successor-in-Interest who has not assumed the 1TIOt't@'lge loan obligation under State law, d,ls d()CUmetlt is
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boing sent for lnfonnation purposes only and docs I\Ot cor.uitute personal ~abjlity with respect to the debt

LEO AL NO YI FICATION: Rushmore Loon Management ~ e s LLC nuy report info1m adon about your account to credit
bureaus. Lata pa:,m<'nts, mls~ed payments or o~ ,r defaL1lts <'ll"l your account may be reflected in your c1·edit report.

Notice of EIT()r Re.solution & lnfonm,tion Requ st Procedures

1110 following oL1tliM$ the Error Resokltion and lnforrm1ion Request Procedures for your r110rcg.1ge ~ccount at RushmOfe loan
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All WTilten roquests for lnform3tion or notices of error should cont.1in the following lnionniuon:
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HUD STATEMENT
Pu1-s1tmt to scaio11 16? of tne Hou5ing anrJ Communlt)' Development Act of 1987, you may hava the opportunity to n icciva




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C01.Jnsellng iron, ;,adou$ local .1gcricies regal"ci'lg th e retention ol your home. You may obt:1in 11 list of the HUD approvad housing
counsellng ag811ci es by colling tna HUD natlonwloo toll"frce telepilone at 1...000-569-1287.

Equal Credit Opportunity Act Disclosure
NOTICE: The fo>d<:.rw Equal Crech Oppominit:y Act prohibit& cmditors from discriminating against credit applim1ts on d,e basis of
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